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               IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        WESTERN DIVISION



UNITED STATES OF AMERICA


v.                                NO. 4:07cr00247-003   SWW


BILLY LEE LOGAN




                                       ORDER

     The United States Probation Office has requested that the Court

modify the Judgment and Commitment filed November 8, 2008 [doc #123],

page 4 of 6, condition #3, to read as follows:

           If deemed necessary, defendant shall participate in

           mental    health   counseling    which    shall    include   anger

           management under the guidance and direction of the U. S.

           Probation Office.

     All   other    terms   and    conditions   of   defendant’s    Judgment    and

Commitment shall remain unchanged and in full force and effect.

     IT IS SO ORDERED, this 12TH DAY OF NOVEMBER 2008.



                                            /s/Susan Webber Wright

                                          United States District Judge
